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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF NEW YORK


IVAN ANTONYUK,
GUN OWNERS OF AMERICA, INC.,
GUN OWNERS FOUNDATION, and
GUN OWNERS OF AMERICA
NEW YORK, INC.,
                                          Civil Action No. 1:22-cv-00734-GTS-
       Plaintiffs,
                                                          CFH
v.
                                                     EXHIBIT 1
KEVIN P. BRUEN, in his official
capacity as Superintendent of the New
York State Police,

       Defendant.


     BRIEF OF AMICUS CURIAE NATIONAL POLICE ASSOCIATION IN
      SUPPORT OF PLAINTIFFS’ PRAYERS FOR DECLARATORY AND
                       INJUNCTIVE RELIEF


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the Brief of Amicus Curiae.




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                           INTEREST OF AMICUS CURIAE

       The National Police Association (“NPA”) is an Indiana non-profit corporation

founded to provide educational assistance to supporters of law enforcement and support to

individual law enforcement officers and the agencies they serve. The NPA seeks to bring

important issues in the law enforcement realm to the forefront of public discussion in order

to facilitate remedies and broaden public awareness.

                                    INTRODUCTION

       It is self-evident that firearms – the weapons themselves, the regulation thereof, and

citizens’ rights there regarding – are of critical importance to the law enforcement

community in this country. Firearms are workaday “tools of the trade” to law enforcement

officers, not unlike a spade to a contractor, a compass to a sailor, or a gavel to a judge. Yet

firearms also pose dangers to those exact same personnel, with scores of American officers

killed by assailants’ criminal misuse of guns in just this young decade alone. Firearms

falling into the wrong hands is a serious concern in the law enforcement community. The

NPA, like many similar organizations, supports firearms regulations tailored to avoiding

that phenomenon, when such laws are sensible and consistent with state and federal

constitutions.   The U.S. Supreme Court has repeatedly observed that the Second

Amendment codified a preexisting right belonging to all, but that the right was and is

subject to forfeiture; the right described in this critical portion of our nation’s founding

legal charter is one belonging to the people, but “the people” protected are, in pertinent

part, “ordinary, law-abiding, adult citizens.” New York State Rifle & Pistol Assn., Inc. v.

Bruen, 142 S. Ct. 2111, 2119 (2022) (emphasis added) (herein Bruen).


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       Yet often neglected in the tumultuous public conversation about firearms is the other

side of the “wrong hands” maxim.           Just as it is an important policy goal to take

constitutional measures to reduce instances of guns falling into the “wrong” hands, due

consideration must be given to what is and is not in the “right” hands.

       A common form of the law enforcement Code of Ethics begins: “As a law

enforcement officer, my fundamental duty is to serve; to safeguard lives and property; to

protect the innocent against deception, the weak against oppression or intimidation, and

the peaceful against violence or disorder; and to respect the Constitutional rights of all to

liberty, equality and justice.”

       As scrupulously as any officer or department attempts to safeguard lives and

property, however, criminals rarely commit such crimes within the immediate vicinity of

uniformed police. It is simply a fact of social life – ancient, modern and presumably in

perpetuity – that citizens are and must be their own “first responders.” Bureau of Justice

statistics reveal that, when violent crimes are reported, police are able to arrive on the scene

within five minutes less than 30% of the time. U.S. Dept. of Justice, Bureau of Justice

Statistics, Criminal Victimization in the United States—Statistical Tables, Table 107 (May

2011).1 Indeed, consistent with the portion of their creed pertaining to respecting the rights


1
  Washington, D.C. has the Nation’s highest number of law enforcement officers per capita,
but, according to a 2019 D.C. Metropolitan Police Department report, the average response
time to a 911 call nonetheless exceeds seven minutes. See Fed. Bureau of Investigation,
Uniform Crime Reporting Program, Crime in the U.S. 2019: Table 77,
https://ucr.fbi.gov/crime-in-the-u.s/2019/crime-in-the-u.s.-2019/topic-pages/tables/table-
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https://mpdc.dc.gov/sites/default/files/dc/sites/mpdc/publication/attachments/MPD%20A
nnual%20Report%202 019_lowres.pdf.

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of all to liberty and justice, good “police” are adamantly opposed to a “police state.” In

a country that values liberty, the primary role of preventing crime will always fall first to

the people, not the executive or any other branch of government.

       This is why the NPA considers itself to be a supporter of the Second Amendment,

not merely in the neutral sense that it supports constitutional government and the Second

Amendment lies within the nation’s constitution, but in that self-protection is a valued and

critical aspect of ordered liberty. While of course many good, civic-minded, law-abiding

citizens choose not to exercise their right to keep and bear arms, many others do, and the

law enforcement community embraces these individuals as partners within our efforts as a

civil society as a whole to safeguard lives and property.

       The “laboratories of democracy” created by our federalist system have given us

ample opportunities over the last several decades to study the ways that crime is affected

when state governments restrict or liberalize their firearms regulations, particularly when

it comes to the public carry of handguns. The primary purpose of the present filing is to

collect and bring to the Court’s attention certain of these studies, which we do below.

Newspaper headline writers, partisan politicians writing speeches, and regular citizens

wishing to go about their day without worrying about gun policy may all wish that the data

could serve as a litmus strip that would turn up one uniform color or another in answer to

grand questions such as “are guns good or bad?” Unfortunately, such conclusions, to no

surprise to those familiar with social science studies on complicated subject matters, turn

out not be available.




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       What is available, though, is telling.        Whatever policy sub-debates remain

outstanding about which the data may be said to remain ambiguous, there is simply no

scientific, data-driven justification for draconian state level laws that practically prevent

ordinary law-abiding adults from being able to carry guns in public so such individuals can

safeguard lives and property in partnership with law enforcement, the latter of which is

simply not designed to and is unable to take on the primary role of preventing criminal

activity. Broad carry rights probably make states safer; but to the extent there is some

hesitancy to draw the conclusion absolutely, such laws certainly have some deterrent

effects with no proven increase of violence.        This data is part and parcel with the

experienced judgments of the vast majority of law enforcement officers—those perhaps in

a position to know and care most about the issue—who are in full support of liberally

extending public carry rights to law-abiding adults wishing to utilize those rights.2

       Constitutional government is a good in itself, but there is no guarantee in the abstract

that any particular constitutional feature, rights-granting provision, or rights-limiting

provision of our country’s or any other constitution will be or is wise public policy.3 And,

of course, part of the purpose of placing a right in a constitution is to enshrine an “interest


2
  A seminal 2013 survey of verified law enforcement professionals is telling. While 91
percent of officers believed that use of a firearm while perpetuating a crime should result
in “stiff, mandatory sentences with no plea bargains,” the exact same percentage said they
supported “concealed carry of firearms by civilians who have not been convicted of a
felony      and/or    not    been     deemed      psychologically/medically    incapable.”
https://media.cdn.lexipol.com/p1_gunsurveysummary_2013.pdf. Relatedly, in a survey of
North American economists who study gun control issues, “81% said that permitted,
concealed handguns lower the murder rate.” https://www.cato.org/regulation/summer-
2016/researcher-perceptions-lawful-concealed-carry-handguns#overview-of-results
3
  See, e.g., U.S. Const. amend. XVIII, U.S. Const. amend. XXI.

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balance” already made by the people such that it does not matter, barring constitutional

amendment, precisely how subsequent legislatures or judicial bodies “weigh” the data and

the public policy values.4 Nonetheless, whether a happy coincidence or another example

of the marked prescience of the framers of the original Constitution and of the Fourteenth

Amendment, the NPA respectfully submits that it is an objectively positive good that our

Constitution guarantees an individual right to possess and carry weapons in case of

confrontation outside the home, and an objectively positive good that the Supreme Court

recently made the existence of this guarantee undeniably clear as a matter of established

controlling jurisprudence in Bruen.

       This leads us to New York’s Concealed Carry Improvement Act (“CCIA”). No

close calls cloud the analysis. The CCIA makes an utter mockery of the rights of the people

described in Bruen. If allowed to go into place as law, the Second Amendment will be a

legal fiction in the fourth most populous state in our union, even though the nation’s highest

court just told us all, explicitly, that the Second Amendment is not a legal fiction but a full

partner with the other “Bill of Rights” guarantees such as freedom of speech.

       Amicus curiae will not clutter the Court’s records with a rehash of the legal

arguments. Suffice it to say for present purposes that upon reading the controlling law set

forth in Bruen, and then reviewing the provisions of the CCIA, no other conclusion is

possible except that the CCIA represents a knowing and deliberate “thumbing of the nose”

by an outlier anti-gun legislature at the Constitution and the rule of law. Indeed, only one


4
 “A constitutional guarantee subject to future judges’ assessments of its usefulness is no
constitutional guarantee at all.” District of Columbia v. Heller, 554 U.S. 570, 634.

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example is needed (although there are many). The Bruen opinion made clear that the

Second Amendment is inconsistent with a firearm licensing regime that gives government

officials subjective discretion to deny licenses, i.e. discretion outside of objectively set-

forth statutory criteria (such as not having a misdemeanor assault record, showing one’s

residency, etc.). It also affirmed that the right to bear arms in public for self-defense “is

not ‘a second-class right, subject to an entirely different body of rules than the other Bill

of Rights guarantees.’” Id. at 2121, citing McDonald v. City of Chicago, Ill., 561 U.S. 742,

780, 130 S. Ct. 3020, 3043, 177 L. Ed. 2d 894 (2010). No other constitutional rights are

contingent on a government official formulating an opinion about whether one particular

citizen is or is not deserving of the right based only on broad discretionary factors. If one

has to earn a “gold star” from a government official in advance of being able to exercise a

“right,” then it wasn’t a right to begin with.

       In response, the CCIA appears to retort: “If the standard cannot involve subjective

discretion, then we will bound the discretion to the ‘objective’ criteria of ‘good moral

character.’” To state the contention is to refute it. It is simply beyond doubt that the CCIA

is a “response” to Bruen, surely enough. But no part of the “response” is aimed at enacting

a firearms regulation regime consistent with what the Supreme Court has decided. The

“response” is, to put it bluntly, obvious non-conformity. If “good moral character” is an

“objective” criteria consistent with the kind of licensing regimes left for now intact in

Bruen, then words have lost all meaning. A scheme which gives licensing officials

discretion to deny gun-carry licenses based on a perceived lack of suitability is anathema




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to the Constitution. If that sounds familiar, it is because it is not an argument but a near-

exact paraphrase of what the Supreme Court said just weeks ago.5

       Even more so than the general public, the law enforcement community and the NPA

are very concerned about firearms reaching the wrong hands. Indeed, the NPA believes

that at least some state and local firearm-related laws should be made more restrictive than

they are at present, at least in certain respects, in the interests of safety and in the interests

of (or at least consistent with the interests of) the safeguarding of lives and property and

the prevention of crime, and could be done fully in accord with robust protection of Second

Amendment rights extended to ordinary, law-abiding adults.

       But such debatable “edge tinkering” is not what is before the Court at present. What

is at hand is a legislative repudiation of the very core of a constitutionally-protected right.

The CCIA is bad for safety; it is bad for public policy; it is bad for law enforcement; it is

bad for the rule of law. Most importantly it is patently unconstitutional and the Plaintiff’s

sought declaratory and injunctive relief should be granted in advance of the flawed act’s

enactment date.




5
  See Bruen, at *17 (“New York is not alone in requiring a permit to carry a handgun in
public. But the vast majority of States—43 by our count—are ‘shall issue’ jurisdictions,
where authorities must issue concealed-carry licenses whenever applicants satisfy certain
threshold requirements, without granting licensing officials discretion to deny licenses
based on a perceived lack of need or suitability. Meanwhile, only six States and the District
of Columbia have ‘may issue’ licensing laws, under which authorities have discretion to
deny concealed-carry licenses even when the applicant satisfies the statutory criteria,
usually because the applicant has not demonstrated cause or suitability for the relevant
license.”).

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                                        ARGUMENT

       The Plaintiffs’ Complaint and Motion for Preliminary Injunction make the legal

points above in spades. The NPA wishes to draw the Court’s attention to the bevy of social

science investigating the impact of concealed-carry laws to emphasize, despite much public

hollering to the contrary, the fact that concealed-carry regimes do not have a statistically

significant impact on violent crime rates. See Brief of Amici Curiae William English,

Ph.D., et al., pg. 8, Bruen, 142 S. Ct. 2111 (2022) (English Brief). A fundamental right

need not bear the weight of ends-based scientific support to merit protection, but the

argument below nonetheless shows that the Second Amendment does just that. As such, a

ruling for Plaintiffs on their Motion for Preliminary Injunction vindicates not only the

right’s existence, but the scientific principles underlying it.

I.     THE COURT SHOULD GRANT PLAINTIFFS’ MOTION FOR
       PRELIMINARY INJUNCTION BECAUSE DOING SO IS IN THE PUBLIC
       INTEREST.

       For reasons which need no explanation, Plaintiffs’ injunction briefing focuses for

the most part on the likelihood of success on the merits. Amicus curiae agree with Plaintiff

that, per Bruen, as to the merits: “There are no relevant statistical studies to be consulted.

There are no sociological arguments to be considered. The ubiquitous problems of crime

or the density of the population do not affect the equation.” (Br. at 9.) The “public interest”

is also a part of the injunction analysis, though. Again as to this component, NPA agrees

with Plaintiffs’ observation (Br. at 25) that it is in the public interest “not to perpetuate the

unconstitutional application of a statute.” Martin-Marietta Corp. v. Bendix Corp., 690 F.2d

558, 568 (6th Cir. 1982). However, amicus curiae respectfully aver that relief would have


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other salubrious consequences in the public interest, or, at an absolute minimum, that

purported fears for the public interest in the name of “public safety” if relief is granted are

vastly overstated (if not invented entirely for political reasons) and should be given little

to no weight.

       In the days following the Supreme Court’s decision in New York State Rifle & Pistol

Association v. Bruen, many commenters argued the decision meant more guns on the

streets and, ipso facto, more gun violence. Richard Saenz, attorney for Lambda Legal,

argued that the Bruen decision “take[s] away an important tool to fight against gun

violence.” See “Lambda Legal Reacts After Supreme Court Strikes Down New York’s Gun

Law,” https://www.lambdalegal.org/news/ny_20220623_ll-reacts-after-scotus-strikes-do

wn-new-york-gun-law (last accessed Aug. 12, 2022). Esther Sanchez-Gomez, senior

litigation counsel for the Giffords Law Center to Prevent Gun Violence, wrote on the

widely-read website SCOTUSblog that “with more guns in our public squares, we are

likely to see more violence, more fear, and greater gun sales, exacerbating our already

devastating epidemic of violence.” See “The Right to Fear, in Public: Our Town Square

After Bruen,” SCOTUSblog.com, https://www.scotusblog.com/2022/06/the-right-to-fear-

in-public-our-town-square-after-bruen/ (last accessed August 13, 2022).

       To put it mildly, the reaction was swift and strong. And, of course, the reductive

facial appeal is there. More guns, more gun violence. But for concealed-carry regimes that

require background checks, mental-health certifications, fingerprinting, and training

regimes, among other things, is this really true? Current research suggests no. In July 2021,

William English, a political economist and Georgetown professor, published the largest-


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ever nationally representative survey of firearms owners and an accompanying study that

contended that, with the appropriate research methodology in tow, concealed-carry laws

had no appreciable effect on violent crime in either direction. The English study

comprehensively rejected methodologies employed by researchers that previously drew

positive ties between an increase in carry laws and violent crime in the course of reaching

a fairly straightforward conclusion: “There is No Compelling Empirical Basis for

Concluding that Right-to-Carry Laws Increase Crime.” See English Brief, at i.

          Moreover, a number of studies suggest that objective concealed carry regimes—

meaning those discussed in the previous sentence, and not the subjective, arbitrary regime

put in place by the CCIA—can both lower violent crime and reduce the number of officer

fatalities in many jurisdictions.6 For this reason, plus those articulated in the Plaintiffs

Complaint and Motion for Preliminary Injunction, the NPA supports Plaintiffs’ effort to

have this Court declare the CCIA unconstitutional under the text of the Second Amendment

and the principles recently articulated in Bruen.

         A.      THE ENGLISH SURVEY AND STUDY, THE MOST RECENT
                 SOCIAL SCIENCE ON THE TOPIC AT ISSUE, SUGGEST THAT
                 CONCEALED-CARRY LAWS DO NOT INCREASE VIOLENT
                 CRIME RATES.

         To put it mildly, social science has struggled to analyze the effect of gun restrictions

on crime. Due perhaps to some combination of the polarizing nature of topic, the available

sample sizes, and the uniqueness of sampling models, researchers in this area frequently

produce studies on similar questions that reach diametrically different results. See, e.g.,


6
    This latter set of research is not without its detractors, which are identified as well.

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John R. Lott, Jr., et al. “Crime, Deterrence, and Right-to-Carry Concealed Handguns,”

Coase-Sandor Institute for Law & Economics Working Paper No. 41, 1996,

https://www.journals.uchicago.edu/doi/10.1086/467988 (right-to-carry laws decrease

violent crime); cf. John J. Donohue et al., “Right-to-Carry Laws and Violent Crime: A

Comprehensive Assessment Using Panel Data and a State-Level Synthetic Control

Analysis,”   Journal   of   Empirical    Legal     Studies,   Vol.   16,    pgs.   198-247,

https://onlinelibrary.wiley.com/doi/10.1111/jels.12219    (right-to-carry   laws   increase

violent crime). Unsurprisingly, attacks on the methodology of studies are a routine theme

of the genre. Recently, however, a nuanced middle-ground is taking hold, as embodied by

a recent survey and study released by Professor William English, Ph.D., a political

economist and public policy professor at Georgetown University.

      In July 2021, Professor English conducted the “largest-ever nationally

representative survey of firearms owners in order to estimate reliably the frequency of

firearm carriage and use for self-defense.” See English Brief, pg. 1; see also William

English, “2021 National Firearms Survey,” (July 14, 2021), Georgetown McDonough

School of Business, https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3887145, last

accessed August 15, 2022. From this survey, Professor English developed a study in which

he concluded, in sum, that the “dramatic growth in the ability to carry firearms for self-

defense in recent decades has not exacerbated crime.” See William English, “The Right to

Carry Has Not Increased Crime: Improving an Old Debate Through Better Data on Permit

Growth Over Time, (July 18, 2021), Georgetown McDonough School of Business,




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https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3887151, last accessed August 15,

2022.

        The English Study differed from previous examinations by looking at a key metric:

the growth of the number of concealed carry permits over time. See English Brief, at 4.

This data point better reflects the impact of carry laws because it accounts for the fact that

change takes time—so any impact on violent crime rates from carry laws would not show

up in data immediately after the law’s passage. Id. at 17.7 Using data from states that report

the number of carry permits issued every year since that state’s carry law took effect (and

other sources, but primarily the aforementioned) Professor English concluded that there is

“no statistically significant relationship between carry permit rates and crime rates.” Id.

        This result tracked with additional research conducted in the years before 2021.

Namely, in 2020, the RAND Corporation published a survey of firearms research that

concluded “the best available studies provide inconclusive evidence for the effect of shall-

issue laws on total homicide.” See RAND, “The Science of Gun Policy: A Critical

Synthesis of Research Evidence on the Effect of Gun Policies in the United States,” at ii

(2d. ed. 2020); see also English Brief, at pgs. 3-4. Fifteen years before that, the National

Research Council—in a similar literature survey—found that “with the current evidence,


7
  In his amicus curiae brief to the U.S. Supreme Court in Bruen, Professor English
discussed why the “change-over-time” measurement is superior to the “before-and-after”
measurement used by opponents of carry laws. Briefly, measuring crime rates shortly
before a concealed-carry law is passed and then again shortly after a concealed-carry law
is passed will not produce useful information about the effect the concealed-carry law on
crime rates because the impact of such a law takes time to show up in data. See English
Brief, at 4, 15-16.


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it is not possible to determine that there is a causal link between the passage of right-to-

carry laws and crime rates.” See National Research Council, “Firearms and Violence: A

Critical Review,” the National Academies Press, 150 (2005); see also English Brief, at pg.

4, for more studies confirming the same.

       This contention—that there’s no evidence that concealed carry laws increase violent

crime—is not groundbreaking policy news, but when a new law seeks to so radically

suppress a constitutional right as the CCIA does to New Yorkers’ Second Amendment

rights, from a policy standpoint that is the headline: the old law does not wreak the policy

problem the new law is supposed to fix. In addition the legal contentions ably advanced

by Plaintiffs in their Complaint and Motion for Preliminary Injunction, there is no policy

reason to think that striking down the CCIA will lead to an increase in violent crime in

New York. The public interest is squarely in the Plaintiffs’ favor, and as such, the Court

should grant Plaintiffs’ Motion for Preliminary Injunction.

       B.     CONCEALED-CARRY LAWS MAY EVEN DECREASE VIOLENT
              CRIME RATES—BUT THE SCIENCE IS NOT CLEAR.

       A positive correlation between concealed-carry laws and the reduction of violent

crime is less clear, but there is a vigorous debate on the question. Insofar as the Court’s

decision implicates this question—as opposed to the more clear-cut one discussed in

Section I(A) above—below is a table of studies presenting both proposing and opposing

research for the Court’s use.8


8
  Additionally, a survey of most of the relevant studies cited in the amici curiae briefing in
Bruen is available here: https://reason.com/volokh/2021/11/02/social-science-on-the-
right-to-bear-arms/ (last accessed August 15, 2022).

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No. Study
1.   Name: The Impact of Gun Laws on Police Deaths
     Author(s): David B. Mustard
     Institution/Publisher: University of Georgia
     Link: https://www.jstor.org/stable/10.1086/323312
     Author’s abstract: “This paper uses state-level data from 1984-96 to examine
     how right-to-carry laws and waiting period affect the felonious deaths of police.
     Some people oppose concealed weapon carry laws because they believe these laws
     jeopardize law enforcement officials, who risk their lives to protect the citizenry.
     This paper strongly rejects this contention… Allowing law-abiding citizens to
     carry concealed weapons does not endanger the lives of officers and may help
     reduce the risk of being killed.”
2.   Name: Crime, Deterrence, and Right‐to‐Carry Concealed Handguns
     Author(s): John R. Lott, Jr. & David B. Mustard
     Institution: Law and Economics program, University of Chicago Law School
     Link: https://www.journals.uchicago.edu/doi/10.1086/467988
     Authors’ abstract: “Using cross‐sectional time‐series data for U.S. counties from
     1977 to 1992, we find that allowing citizens to carry concealed weapons deters
     violent crimes, without increasing accidental deaths. If those states without right‐
     to‐carry concealed gun provisions had adopted them in 1992, county‐ and state‐
     level data indicate that approximately 1,500 murders would have been avoided
     yearly. Similarly, we predict that rapes would have declined by over 4,000, robbery
     by over 11,000, and aggravated assaults by over 60,000. We also find criminals
     substituting into property crimes involving stealth, where the probability of contact
     between the criminal and the victim is minimal. Further, higher arrest and
     conviction rates consistently reduce crime. The estimated annual gain from all
     remaining states adopting these laws was at least $5.74 billion in 1992. The annual
     social benefit from an additional concealed handgun permit is as high as $5,000.”
3.   Name: Privately Produced General Deterrence
     Author(s): Bruce L. Benson, and Brent D. Mast
     Institution/Publisher: Florida State University/American Enterprise Institute
     Link: https://www.journals.uchicago.edu/doi/10.1086/323766
     Authors’ abstract: “In this study, we use county data on private security
     establishments and employment for 1977–92 to test two hypotheses. First, we test
     whether private security deters crime. Second, we test whether John Lott and
     David Mustard’s estimates of the impact of shall‐issue laws on crime are biased
     because of a lack of controls for private security. We find little evidence that
     private security reduces the crime rates for assault or larceny. Some estimates
     suggest murder, robbery, and/or auto theft may be deterred by private security,
     although these results are not robust. Of all the index crime categories, only rape
     is estimated to have a consistent negative relationship with private security. In
     addition, we find little evidence that the Lott and Mustard results are biased


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No. Study
     because of a lack of controls for the private security measures employed in this
     study.”
4.   Name: The Concealed-Handgun Debate
     Author(s): John R. Lott, Jr.
     Institution/Publisher: University of Chicago Law School
     Link: https://www.journals.uchicago.edu/doi/10.1086/468020
     Author’s abstract: “Dan A. Black and Daniel S. Nagin state that my article with
     David Mustard assumes that the effect of concealed‐handgun laws is constant over
     time, that the effect is the same across states, that the article does not control for
     local time trends, and that we did not investigate whether the results were sensitive
     to the missing values of the arrest rate. None of these claims are correct, and this
     is easily verified by anyone who reads the original article. Their statement that the
     results are sensitive to including Florida applies to fewer than 1 percent of the
     regressions that I have reported. Using results from previous drafts of Black and
     Nagin's comment as well as new estimates of my own, I provide additional
     evidence that allowing law‐abiding citizens to carry concealed handguns deters
     criminals. Violent crime rates were rising before the law was passed and fell
     thereafter.”
5.   Name: Does the Right to Carry Concealed Handguns Deter Countable Crimes?
     Only a Count Analysis Can Say
     Author(s): Florenz Plassmann & T. Nicolaus Tideman
     Institution/Publisher: State University of New York at Binghamton/Virginia
     Polytechnic Institute and State University
     Link: https://www.journals.uchicago.edu/doi/10.1086/323311
     Authors’ abstract: “An analysis of the effects of right‐to‐carry laws on crime
     requires particular distributional and structural considerations. First, because of the
     count nature of crime data and the low number of expected instances per
     observation in the most appropriate data, least‐squares methods yield unreliable
     estimates. Second, use of a single dummy variable as a measure of the nationwide
     effect of right‐to‐carry laws is likely to introduce geographical and intertemporal
     aggregation biases into the analysis. In this paper, we use a generalized Poisson
     process to examine the geographical and dynamic effects of right‐to‐carry laws on
     reported homicides, rapes, and robberies. We find that the effects of such laws vary
     across crime categories, U.S. states, and time and that such laws appear to have
     statistically significant deterrent effects on the numbers of reported murders, rapes,
     and robberies.”
6.   Name: Testing for the Effects of Concealed Weapons Laws: Specification Errors
     and Robustness
     Author(s): Carlisle E. Moody
     Institution/Publisher: College of William and Mary - Department of Economics
     Link: https://papers.ssrn.com/sol3/papers.cfm?abstract_id=281240


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No. Study
     Author’s abstract: “In 1997, Lott and Mustard published an important paper
     which found that right-to-carry concealed weapons laws reduce violent crime.
     Although Lott and Mustard appear to do all possible variations of the analysis, a
     closer reading reveals that the study might suffer from several possibly important
     errors. I re-estimate the model and check for incorrect functional form, omitted
     variables, and possible second order bias in the t-ratios. Lott and Mustard's basic
     conclusions are generally robust with respect to these potential econometric
     problems. Overall, right-to-carry concealed weapons laws tend to reduce violent
     crime. The effect on property crime is more uncertain. I find evidence that these
     laws also reduce burglary.”
7.   Name: Criminal Deterrence, Geographic Spillovers, and Right-to-Carry
     Concealed Handguns
     Author(s): Stephen G. Bronars & John R. Lott
     Institution/Publisher: University of Texas at Austin/Crime Prevention Research
     Center
     Link: https://papers.ssrn.com/sol3/papers.cfm?abstract_id=56862
     Authors’ abstract: “Increased law enforcement or penalties may deter crime, but
     they may also cause criminals to move to other crimes or other areas. This paper
     examines whether the adopting a shall issue concealed weapons law in one state
     alters crime in neighboring areas... Taken together these results imply that
     concealed handguns deter criminals and that the largest reductions in violent crime
     will be obtained when all the states adopt these laws. We find little evidence that
     increased arrest rates create similar spillovers.”
8.   Name: A Note on the Use of County-Level Ucr Data: A Response
     Author(s): John R. Lott & John E. Whitley
     Institution/Publisher: Crime Prevention Research Center
     Link: https://papers.ssrn.com/sol3/papers.cfm?abstract_id=320102
     Authors’ abstract: “Maltz and Targonski (2002) have provided an important
     service by disaggregating the county level data to help researchers examine
     measurement errors in the county level data, but their conclusion ‘that county-level
     crime data, as they are currently constituted, should not be used, especially in
     policy studies’ is not justified... The evidence provided here indicates right-to-
     carry laws continue to produce substantial reductions in violent crime rates when
     states with the greatest measurement error are excluded. In fact, the restricting the
     sample results in somewhat larger reductions in murders and robberies, but smaller
     reductions in aggravated assaults.”
9.   Name: Using Placebo Laws to Test “More Guns, Less Crime”
     Author(s): Eric Helland & Alexander Tabarrok
     Institution/Publisher: Claremont-McKenna College/George Mason University
     Link: https://crimeresearch.org/wp-content/uploads/2015/03/Helland-Tabarrok-
     Placebo-Laws.pdf


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No. Study
      Authors’ abstract: “We reexamine Mustard and Lott’s controversial study on the
      effect of “shall-issue” gun laws on crime using an empirical standard error function
      randomly generated from “placebo” laws. We find that the effect of shall-issue
      laws on crime is much less well-estimated than the Mustard and Lott (1997) and
      Lott (2000) results suggest. We also find, however, that the cross equation
      restrictions implied by the Lott-Mustard theory are supported.”
10.   Name: The Debate on Shall-Issue Laws
      Author(s): Carlisle E. Moody & Thomas B. Marvell
      Institution/Publisher: College of William and Mary/Director of Justice Research
      Link: https://econjwatch.org/File+download/234/2008-09-moodymarvell-
      com.pdf?mimetype=pdf
      Authors’ abstract: “…Lott and Mustard’s article created a furor and the debate
      continues. Much of this debate takes place in op-ed columns, letters to editors,
      internet chat rooms, and web logs. In this article we concentrate on the academic
      debate. We review the main threads of the discussion in the literature and extend
      the debate with our own statistical analyses. In particular, we extend the
      investigation of influential work in Stanford Law Review by Ian Ayres and John
      J. Donohue III (2003a, 2003b), who, contrary to Lott and Mustard, claim to find
      that shall-issue laws actually lead to an overall increase in crime. The new
      statistical analysis contained in the present article finds that shall issue laws are
      generally beneficial. Purists in statistical analysis object with some cause to some
      of methods employed both by Ayres and Donohue, by us, and by the literature in
      general. But the new investigation presented here upgrades Ayres and Donohue in
      a few significant ways, so, at least until the next study comes along, our paper
      should neutralize Ayres and Donohue’s ‘more guns, more crime’ conclusion.”
11.   Name: Revisiting the Question “More Guns, Less Crime?” New Estimates Using
      Spatial Econometric Techniques
      Author(s): Donald J. Lacombe & Amanda Ross
      Institution/Publisher: West Virginia University
      Link: https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2389105
      Authors’ introduction: “…We find that concealed weapon laws reduce the
      assault rate, consistent with the arguments of Lott and Mustard (1997) that the
      potential of an armed victim deters criminals. However, we find a positive effect
      for all property crimes, robbery, larceny, and motor vehicle theft (MVT). Our
      findings also indicate that adoption of a shall-issue law has a positive spillover
      effect on neighboring states for rape, robbery, larceny, MVT, and all property
      crimes. Policy makers should be cognizant of our findings, as they suggest that
      anti-crime policies have spillover effects on adjacent states.”
12.   Name: An Examination of the Effects of Concealed Weapons Laws and Assault
      Weapons Bans on State-Level Murder Rates
      Author(s): Mark Gius


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No. Study
      Institution/Publisher: Applied Economics Letters
      Link: https://www.tandfonline.com/doi/abs/10.1080/13504851.2013.854294
      Author’s abstract: “The purpose of the present study is to determine the effects
      of state-level assault weapons bans and concealed weapons laws on state-level
      murder rates. Using data for the period 1980 to 2009 and controlling for state and
      year fixed effects, the results of the present study suggest that states with
      restrictions on the carrying of concealed weapons had higher gun-related murder
      rates than other states. It was also found that assault weapons bans did not
      significantly affect murder rates at the state level. These results suggest that
      restrictive concealed weapons laws may cause an increase in gun-related murders
      at the state level. The results of this study are consistent with some prior research
      in this area, most notably Lott and Mustard (1997).”
13.   Name: The Impact of “Shall-Issue” Concealed Handgun Laws on Violent Crime
      Rates
      Author(s): Tomislav V. Kovandzic, Thomas B. Marvell, Lynne M. Vieraitis
      Institution/Publisher: University of Alabama at Birmingham, Justec Research
      Link: https://www.hoplofobia.info/wp-content/uploads/2015/08/2005-The-
      Impact-of-RTC-Laws-on-Violent-Crime-Rates.pdf
      Abstract: “What happens when states ease access to permits to carry concealed
      handguns in public places? Supporters maintain the laws can reduce violent crime
      rates by raising the expected costs of crime, because of criminals anticipating
      greater risks of injury and lower rates of success completing their crimes.
      Opponents argue that the laws are likely to increase violent crime, especially
      homicide, as heated disputes involving permit holders are more likely to turn
      deadly because of the greater lethality of firearms… The authors measure the
      effects of the laws using a time-trend variable for the number of years after the law
      has been in effect, as opposed to the dummy variable approach used in prior
      research. They also address many of the methodological problems encountered in
      previous studies. The results provide no evidence that the laws reduce or increase
      rates of violent crime.”
14.   Name: The Effect of Nondiscretionary Concealed Weapon Carrying Laws on
      Homicide
      Author(s): Lisa Hepburn 1, Matthew Miller, Deborah Azrael & David Hemenway
      Institution/Publisher: Harvard School of Public Health
      Link: https://pubmed.ncbi.nlm.nih.gov/15128143/
      Abstract: “… Methods: Pooled cross-sectional time-series data (1979-1998) for
      50 states and Poisson regression methods were used to estimate the effect of
      changes in state laws on homicide rates. Results: No statistically significant
      association exists between changes in concealed weapon laws and state homicide
      rates. This finding is consistent across all models. Conclusions: The current
      findings are consistent with those of other published studies indicating that


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No. Study
      nondiscretionary concealed weapon laws are not associated with significant
      increases or decreases in homicide.”
15.   Name: How Do Right-to-Carry Laws Affect Crime Rates? Coping with Ambiguity
      Using Bounded-Variation Assumptions
      Author(s): Charles F. Manski & John Pepper
      Institution/Publisher: Northwestern University/University of Virginia
      Authors’ Abstract: “Despite dozens of studies, research on crime has struggled
      to reach consensus about the impact of right-to-carry (RTC) gun laws. With this in
      mind, we formalize and apply a class of bounded-variation assumptions that
      flexibly restrict the degree to which outcomes may vary across time and space…
      Imposing specific assumptions that we believe worthy of consideration, we find
      that RTC laws increase some crimes, decrease other crimes, and have effects that
      vary over time for others.”
16.   Name: Texas Concealed Handgun Carriers: Law-abiding Public Benefactors
      Author(s): H. Sterling Burnett
      Institution/Publisher: National Center for Policy Analysis
      Link: http://www.ncpathinktank.org/pub/ba324
      Author’s introduction: “In 1998 and again in 1999, the Violence Policy Center,
      a research organization opposed to concealed carry, released reports highlighting
      the numbers of Texas’ concealed carry licensees who have been arrested since the
      law went into effect. Using Texas Department of Public Safety records, the center
      pointed out that Texas licensees had been arrested for nearly two crimes a day
      through 1998 - with more than one arrest each month for a violent crime. In
      isolation these numbers paint a troubling picture. However, the reports are
      misleading for several reasons. First, they do not separate crimes that involve
      concealed weapons from those that don’t. In addition, they ignore the fact that
      more than 55 percent of licensees arrested for violent crimes are cleared of the
      crimes for which they are arrested. Most tellingly, when the arrest rates of Texas’
      concealed carry holders are compared with those of the general population,
      licensees are found to be more law-abiding than the average person. In an
      unpublished report, engineering statistician William Sturdevant found that
      concealed carry licensees had arrest rates far lower than the general population for
      every category of crime. For instance: Licensees were 5.7 times less likely to be
      arrested for violent offenses than the general public - 127 per 100,000 population
      versus 730 per 100,000. Licensees were 14 times less likely to be arrested for
      nonviolent offenses than the general public - 386 per 100,000 population versus
      5,212 per 100,000.”
17.   Name: Pretend “Gun-Free” School Zones: A Deadly Legal Fiction
      Author(s): David B. Kopel
      Institution/Publisher: Connecticut Law Review
      Link: https://davekopel.org/2A/LawRev/Kopel-School-Zones.pdf


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 No. Study
       Excerpt: “Although there is debate on whether there is a statistically significant
       crime reduction as a result of “Shall Issue” laws, there is unanimity that there is no
       statistically significant increase in crime caused by the acts of the licensees. There
       is also extensive evidence of particular cases in which licensees have used their
       permitted handguns to save their own lives, or the lives of other people, or to thwart
       other serious violent crimes… since 2003 [in Minnesota], we have 56,919
       [concealed handgun] permitees and forty handgun crimes, or about one such crime
       per 1423 permitees. It would be difficult to find a significant demographic group
       in the United States with a lower rate of handgun crimes.”
 18.   Name: The Effect of Right-to-Carry Laws on Crime Rates
       Author(s): Gary Kleck
       Institution/Publisher: Florida State University-College of Criminology and
       Criminal Justice
       Link: https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3810840
       Excerpt: “Thus, carry permit holders could not have committed more than
       3/100ths of one percent of Florida’s violent crimes. And even if these 35-gun
       crimes were spread out over 35 different permit holders, it would still mean that
       less than 4/1000th of one percent of active Florida carry permit holders committed
       any kind of gun crime. In sum, gun crimes committed by carry permit holders are
       so extremely rare that it is virtually impossible that they could exert a measurable
       effect on rates of AAs or other violent crimes.”

       The second question, the reductive effect of concealed-carry laws on violent crime,

is complicated. Should the Court consider such a question in its assessment of Plaintiffs’

Motion for Preliminary Injunction, the referenced research provides a thorough

background of each side’s principal scientific contentions. That said, the thrust of this brief

is not to tell the Court that concealed-carry laws reduce crime. It is to explain, as set forth

in Section I(A), that public-facing commentary so often gets it wrong when hyperbolically

discussing the impact of concealed-carry laws on crime. The fact is, despite caterwauling

to the contrary, concealed-carry laws appear to have no appreciable impact on violent

crime. It is for that reason that Judge Posner, in a 2012 ruling on Illinois’ then-sweeping

ban on carrying in public, opined that:


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       “The theoretical and empirical evidence (which overall is inconclusive) is
       consistent with concluding that a right to carry firearms in public may
       promote self-defense. Illinois had to provide us with more than merely a
       rational basis for believing that its uniquely sweeping ban is justified by an
       increase in public safety. It has failed to meet this burden.”

Moore v. Madigan, 702 F.3d 933, 942 (7th Cir. 2012) (emphasis added). Things have not

changed, appreciably. Given this, any policy-based reason to uphold the CCIA’s

constitutionality falls by the way side, meaning the public’s interest would be squarely

served via the Court granting Plaintiff’s Motion for Preliminary Injunction.

                                     CONCLUSION

       The Court should grant Plaintiffs’ Motion for Preliminary Injunction.

Dated August 15, 2022.
                                              Respectfully submitted,

                                              s/
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                             CERTIFICATE OF SERVICE

        The attached Brief Of Amicus Curiae National Police Association In Support
Of Plaintiffs’ Prayers For Declaratory And Injunctive Relief was filed as Exhibit 1 to
Amicus Curiae National Police Association’s Motion for Leave to File Brief as Amicus
Curiae in Support of Plaintiffs on August __, 2022, via the CM/ECF system for filing.
Based on the records currently on file, a Notice of Electronic Filing will be distributed to
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